                              IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE MIDDLE DISTRICT OF TENNESSEE
                                         NASHVILLE DIVISION

IN RE:                                                   )
                                                         )
JAMES ROBERT JACKSON, Jr.                                ) BK No. 19-01746-MH3-7
dba STONEWALL FARM                                       )
                                                         )
         Debtor(s).                                      )
THE DEADLINE FOR FILING A TIMELY RESPONSE IS: July 3, 2019
IF A RESPONSE IS TIMELY FILED, THE HEARING WILL BE: July 16, 2019, 9:00 a.m., Courtroom 3,
2nd Floor, Customs House, 701 Broadway, Nashville, Tennessee 37203

 NOTICE OF TRUSTEE’S APPLICATION TO EMPLOY ERICA R. JOHNSON, ATTORNEY AT LAW,
                        PLLC AS ATTORNEYS FOR TRUSTEE

        Erica R. Johnson, Trustee, has asked the court for the following relief: to employ attorneys for the
bankruptcy estate.

         YOUR RIGHTS MAY BE AFFECTED. If you do not want the court to grant the attached motion by
entering the attached order, or if you want the court to consider your views on the motion, then on or before the
response date stated above, you or your attorney must:

1.       File with the court your response or objection explaining your position. Please note: the Bankruptcy Court
         for the Middle District of Tennessee requires electronic filing. Any response or objection you wish to file
         must be submitted electronically. To file electronically, you or your attorney must go to the court website
         and follow the instructions at: <https://ecf.tnmb.uscourts.gov>.

         If you need assistance with Electronic Filing you may call the Bankruptcy Court at (615) 736-5584. You
         may also visit the Bankruptcy Court in person at: 701 Broadway, 1st Floor, Nashville, TN (Monday -
         Friday, 8:00 A.M. - 4:00 P.M.).

2.       Your response must state the deadline for filing responses, the date of the scheduled hearing and the motion
         to which you are responding.

          If a response is filed before the deadline stated above, the hearing will be held at the time and place
indicated above. THERE WILL BE NO FURTHER NOTICE OF THE HEARING DATE. You may check
whether a timely response has been filed by viewing the case on the court’s website at
<https://ecf.tnmb.uscourts.gov>.

         If you or your attorney does not take these steps, the court may decide that you do not oppose the relief
sought in the motion and may enter the attached order granting that relief.

         This 12th day of June, 2019

                                                              /s/ Erica R. Johnson
                                                              Erica R. Johnson (BPR No. 30939)
                                                              ERICA R. JOHNSON,
                                                              ATTORNEY AT LAW, PLLC
                                                              8161 Highway 100, Suite 184
                                                              Nashville, Tennessee 37221
                                                              (615) 347-5869 – Telephone
                                                              erica@erjlaw.com – Email




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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
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IN RE:                                                  )
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JAMES ROBERT JACKSON, Jr.                               )   BK No. 19-01746-MH3-7
dba STONEWALL FARM                                      )
                                                        )
          Debtor(s).                                    )

   TRUSTEE'S APPLICATION TO EMPLOY ERICA R. JOHNSON, ATTORNEY AT
              LAW, PLLC AS ATTORNEYS FOR THE TRUSTEE

          Comes Erica R. Johnson, Trustee, by and through counsel, and respectfully represents the
following to the Court:
          1.     James Robert Jackson, Jr. (“Debtor”) commenced the above-captioned case by
filing a voluntary chapter 7 petition on March 20, 2019.
          2.     Erica R. Johnson is the duly appointed and acting trustee in this chapter 7 case
(“Trustee”).
          3.     The Trustee has a right to representation to assist her in carrying out the trustee’s
duties.
          4.     11 U.S.C. § 327(a) controls the employment of professional persons:
                  “Except as otherwise provided in this section, the trustee, with the court's
                  approval, may employ one or more attorneys, accountants, appraisers,
                  auctioneers, or other professional persons, that do not hold or represent
                  an interest adverse to the estate, and that are disinterested persons, to
                  represent or assist the trustee in carrying out the trustee's duties under
                  this title.” (emphasis added)

          5.     Furthermore, Rule 2014 of Federal Rules of Bankruptcy Procedure outlines the
procedure in obtaining court approval:
                 “Application for an order of employment. An order approving the
                 employment of attorneys, accountants, appraisers, auctioneers, agents, or
                 other professionals pursuant to § 327, § 1103, or § 1114 of the Code shall
                 be made only on application of the trustee or committee. The application
                 shall be filed and, unless the case is a chapter 9 municipality case, a copy
                 of the application shall be transmitted by the applicant to the United States
                 trustee. The application shall state the specific facts showing the




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                necessity for the employment, the name of the person to be employed,
                the reasons for the selection, the professional services to be rendered,
                any proposed arrangement for compensation, and, to the best of the
                applicant's knowledge, all of the person's connections with the debtor,
                creditors, any other party in interest, their respective attorneys and
                accountants, the United States trustee, or any person employed in the
                office of the United States trustee. The application shall be accompanied
                by a verified statement of the person to be employed setting forth the
                person's connections with the debtor, creditors, any other party in interest,
                their respective attorneys and accountants, the United States trustee, or any
                person employed in the office of the United States trustee.” (emphasis
                added)

        6.      Accordingly, pursuant to 11 U.S.C. § 327(a) and Fed. R. Bankr. P. 2014, the
Trustee requests approval of this Court to employ Erica R. Johnson, Attorney at Law, PLLC
("Law Firm") to represent her in the above-captioned case.
        7.      The Trustee anticipates that the services the Law Firm may render include the
following:
                a.     Identifying and prosecuting causes of action relating to fraudulent and/or
                       preferential transfers;
                b.     Preparing pleadings and proposed orders to be submitted to the Court;
                c.     Identifying and prosecuting claims, contested matters and causes of action
                       on behalf of the estate;
                d.     Prosecuting objections to proofs of claims and motions for administrative
                       expenses;
                e.     Preparing documents in connection with the liquidation of assets of the
                       estate, but excluding non-litigation services related to collection of
                       accounts receivable; and
                f.     Providing legal services required in the performance of the Trustee’s
                       administrative tasks.
        8.      The Trustee has selected the Law Firm as counsel because of its attorney’s
extensive experience and knowledge in the fields of bankruptcy, insolvency, and debtor and
creditor rights. Accordingly, the Trustee believes the Law Firm is well qualified to represent her
in this case.




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        9.      The current billing rates of the Law Firm are as follows: $325.00 per hour for
time of Erica R. Johnson, Attorney; and $160.00 per hour for time of paralegals; plus
reimbursement of actual expenses.       These rates may be subject to periodic increases.        No
compensation will be paid to any of these persons from funds of the estate except upon
application to and approval by the Court pursuant to 11 U.S.C. §§ 330 and 331, the Federal Rules
of Bankruptcy Procedure, the Local Rules of Court, and the United States Trustee Fee
Guidelines.
        10.     Subject to Court’s approval, the Law Firm’s representation of the Trustee shall
commence on, or about, the date that this Application is filed with the Court.
        11.     The Law Firm represents no interest adverse to the Trustee or the estate in the
matters upon which it is to be engaged, and such employment is in the best interest of the estate.
Further, the Law Firm is a disinterested person within the meaning of 11 U.S.C. §101(14).
        12.     The Trustee is the owner of the Law Firm.
        13.     The Trustee asserts that employing the Law Firm is in the best interest of the
estate. Among numerous other factors, the Trustee bases this upon the following factors: (a) the
Law Firm’s attorney has represented other chapter 7 trustees in over 100 cases; therefore, the
Law Firm has extensive experience in representing chapter 7 trustees; (b) the rates of the Law
Firm are comparable to other attorneys providing the same service in this district, which makes
the rates reasonable; (c) the selection of the Law Firm avoids the expense of educating an
independent counsel about relevant facts; (d) the nature of the legal work to be performed in this
case is such that hiring of outside counsel would not be cost effective; (e) due to the nature of the
legal work to be performed in this case and the uncertainty that such representation will result in
recovery to pay reasonable attorney fees, it might be difficult to find outside counsel willing to
represent the Trustee on a contingency fee basis; and (f) the relationship between attorney and
client is highly confidential and the Trustee has confidence that the Law Firm is the best option
to represent her in this case.
        14.     The Trustee shall maintain an internal record of her trustee services in order to be
able to provide it upon request by the United States Trustee or any party in interest.
        15.     The Trustee has no intentions of hiring additional counsel at this time. If the
employment of additional counsel is requested, a clear delineation of duties between the law




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firms will be provided at that time.
         WHEREFORE, the Trustee requests that she be authorized to employ Erica R. Johnson,
Attorney at Law, PLLC, as attorneys for the Trustee, and for such other relief as is necessary and
appropriate.
                                                               /s/ Erica R. Johnson
                                                               Erica R. Johnson (BPR No. 30939)
                                                               ERICA R. JOHNSON,
                                                               ATTORNEY AT LAW, PLLC
                                                               8161 Highway 100, Suite 184
                                                               Nashville, Tennessee 37221
                                                               (615) 347-5869 – Telephone
                                                               erica@erjlaw.com – Email
                                                               Attorneys for Trustee



                              STATEMENT OF DISINTERESTEDNESS

         I, Erica R. Johnson, hereby verify under penalty of perjury that the statements contained
in the foregoing Application are true and correct to the best of my knowledge, information, and
belief, and that Erica R. Johnson, Attorney at Law, PLLC, has no connection with the Debtor, the
creditors, any other party in interest (other than the Trustee), or their respective attorneys and
accountants, the United States Trustee, or any person employed in the office of the United States
Trustee, except for the fact that I am a member of the Standing Chapter 7 Panel of Trustees,
which is appointed by the United States Trustee.

                                                      /s/ Erica R. Johnson
                                                      Erica R. Johnson



                                          CERTIFICATE OF SERVICE

         I hereby certify that a true and exact copy of the Application to Employ, proposed Order Granting
Application to Employ and Notice of Application was served upon the U.S. Trustee, the Debtor, the Debtor’s
Attorney, all scheduled secured creditors, the 10 largest scheduled unsecured creditors, and to all those requesting
notice, as shown on the mailing matrix which is attached to the original of this document and on file in the office of
the Clerk of this Court, on June 12, 2019.


                                                      /s/ Erica R. Johnson
                                                      Erica R. Johnson




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